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 8                        UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,            No.   2:12-CR-00315 JAM
12                 Plaintiff,
13        v.                              ORDER DENYING DEFENDANT’S
                                          MOTIONS TO DISMISS SUPERSEDING
14   LAWRENCE LELAND “LEE” LOOMIS,        INDICTMENT
15                 Defendant.
16

17        Pending before this Court are Defendant Lee Loomis’ “Amended

18   Motion to Dismiss Superseding Indictment for Destruction of

19   Evidence . . .” (Doc #314) and “Motion to Dismiss the Superseding

20   Indictment for Preindictment Delay That Resulted In Actual

21   Prejudice” (Doc #315).     The United States opposes both motions

22   (Doc #326).   For the following reasons, both motions are denied.

23        Motion to Dismiss for Destruction of Evidence

24        Defendant seeks dismissal of the indictment because Mr.

25   Loomis’ accounting system, Quick Books Online, was not preserved

26   and allegedly contained data necessary for Mr. Loomis to prepare

27   a complete defense.    Defendant contends that the government did

28   nothing to preserve this data and let it be destroyed in order to
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 1   prevent Defendant from adequately cross-examining key government

 2   witnesses and presenting a complete defense.         Defendant further

 3   argues that the government’s conduct was so egregious that it

 4   warrants the Court dismissing the indictment against Defendant

 5   with prejudice.    Defendant cites both California v. Trombetta,

 6   467 U.S. 479 (1984) and Arizona v. Youngblood, 488 U.S. 51 (1988)

 7   in support of its motion herein.

 8        Defendant’s motion is without merit.        As the government

 9   points out, Defendant has not cited a single case, and the Court
10   is unaware of any case where a Court has dismissed an indictment
11   based on the alleged destruction or loss of evidence that was
12   never possessed by the government.       Here, the government never
13   possessed the relevant evidence and cannot be faulted for the
14   destruction of the accounting system data by a third party.          At
15   best, the government may have been in possession of a login name
16   and password that would have allowed it to access Quick Books’
17   files.   However, controlling a login name and password is not the
18   same as being in actual control and/or possession of records or
19   documents.    Moreover, Defendant has failed to produce any
20   evidence that the government acted in bad faith.         Since the

21   evidence in question was never possessed or accessed by the

22   government prior to its destruction, the government had no

23   specific knowledge of its alleged exculpatory value.          “The

24   presence or absence of bad faith turns on the government’s

25   knowledge of the apparent exculpatory value of the evidence at

26   the time it was lost or destroyed.”       United States v. Cooper, 983

27   F.2d 928, 931 (9th Cir. 1993) (citing Youngblood, 488 U.S. at 56-

28   57 at n*)).   While the government may have had an opportunity to
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 1   obtain these records and thereby keep them from being destroyed

 2   by a third party, it had no affirmative obligation to do so.

 3   Defendant could have also prevented the destruction of these

 4   records by retrieving the information.        The government cannot be

 5   faulted or found to have acted in bad faith under these

 6   circumstances.   Finally, having found that there was no

 7   constitutional violation here, dismissal of the indictment based

 8   on the Court’s supervisory powers is neither permissible nor

 9   proper.
10        Motion to Dismiss for Preindictment Delay

11        Defendant contends that as a result of approximately 4 years

12   of preindictment delay, many of the records necessary to present

13   a defense have been destroyed resulting in actual prejudice to

14   Mr. Loomis that rises to the level of a Fifth Amendment due

15   process violation.    “Generally, any delay between the commission

16   of a crime and an indictment is limited by the statute of

17   limitations” United States v. Verbera, 509 F.3d 1005, 1112 (9th

18   Cir. 2007).   To establish a due process violation based on

19   preindictment delay, the Defendant must first establish “actual,
20   non-speculative prejudice” from the delay.        United States v. Doe,

21   149 F.3d 945, 948 (9th Cir. 1998).      “The defendants’ burden to

22   show actual prejudice is heavy and is rarely met.”          United States

23   v. Barken, 412 F.3d 1131, 1134 (9th Cir. 2005).        Second, the

24   length of delay is weighed against the reason for delay, and the

25   defendant must show that the delay “offends those fundamental

26   conceptions of justice which are at the base of our civil and

27   political institutions.”     Id.

28        In its opposition the government contends that Defendant has
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 1   failed to establish actual non-speculative prejudice and that the

 2   length of delay was reasonable in light of the substantial

 3   investigation the government felt was needed to prove this

 4   criminal case. The Court finds the government’s arguments to be

 5   persuasive.   Even if the government had sufficient information to

 6   file a civil forfeiture complaint in February 2009,that does not

 7   mean it could have commenced a criminal case at the same time.

 8   This is a multi-defendant criminal case that requires sufficient

 9   evidence to prove the numerous charges beyond a reasonable doubt.
10   It is a complex case and Defendant has failed to meet its burden
11   of proving that the reasons for the delay between the start of
12   the investigation and the indictment “offends those fundamental
13   conceptions of justice which lie at the base of our civil and
14   political institutions.”     Barken, 412 F.3d at 1134.       The
15   government’s decision to take four years to seek sufficient

16   evidence to prove this criminal case at a higher level of

17   certainty than what the law requires does not offend the

18   fundamental concept of justice; the opposite is true.

19                                     ORDER
20        For the foregoing reasons, Defendant’s two motions to

21   dismiss the superseding indictment are DENIED.

22        IT IS SO ORDERED.

23   Dated:   January 7, 2016

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